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              BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE
          UNITED STATES COURT OF INTERNATIONAL TRADE


    Vanguard Trading Company LLC,

                       Plaintiff,

         v.                                        Ct. No. 23-00253

    United States.

                       Defendant.




          MEMORANDUM OF LAW IN SUPPORT OF THE
              RULE 56.2 MOTION OF PLAINTIFF
       VANGUARD TRADING COMPANY LLC FOR JUDGMENT
                UPON THE AGENCY RECORD




                                        David J. Craven, Esq.
                                        CRAVEN TRADE LAW LLC
                                        3744 N Ashland Avenue
                                        Chicago, Illinois 60613
                                        Tel. 773-709-8506
                                        David.craven@tradelaw.com
                                           Counsel for Plaintiffs
Dated: June 20, 2024
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I.    INTRODUCTION

       1.       This is an appeal challenging the June 14, 2023 decision of U.S.

Customs and Border Protection (“CBP”) and its Administrative Review

determination of October 23, 2023 made in connection with the Enforce and

Protect Act (“EAPA”) Case number 7722. See 19 U.S.C. §1517(g).

       Plaintiff Vanguard Trading Company LLC (“Vanguard”) was the named

respondent in the EAPA matter, and was a party to the proceeding, having actively

participated in the process.

      The Plaintiff assert the following errors in CBP’s final determinations:

       The EAPA (19 U.S.C. 4301 as implemented at 19 U.S.C. 1517) was never

            intended to be used to investigate and punish importers with a legitimate

            dispute as to classification and who otherwise provided full and complete

            information. CBP should never have initiated this investigation and the

            resultant determination is unlawful.

       The EAPA (19 U.S.C. 1517(4)) requires that CBP seek guidance from the

            Department of Commerce where there is a question as to whether the

            goods fall within the scope of the order.   Notwithstanding the multiple

            requests of Vanguard, CBP failed to do so, and made a decision on scope

            without consulting with the master of the order, the U.S. Department of

            Commerce.

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           CBP improperly refused to take legal notice of the scope ruling filed with

               the Department by Vanguard seeking to confirm that the product was not

               subject to the order.

           CBP improperly refused to consider the independent laboratory tests

               provided by VTC which showed that the product in question was outside

               of the scope of the order as the material was not primarily Silica, and thus

               the goods were outside of the scope of the order.

II.       STATEMENT PURSUANT TO RULE 56.2(c)

          A.      Administrative Determination Under Review

           This action is brought pursuant to 517(g) of the Tariff Act of 1930, as

    amended by the Trade Facilitation and Trade Enforcement Act of 2015 to contest

    the June 14, 2023 decision of U.S. Customs and Border Protection (“CBP”) and

    its Administrative Review determination of October 23, 2023 made in connection

    with EAPA Case number 7722. (PR 48 and 61)1

          In the June 14, 2023 decision and October 23, 2023 review determination,

CBP found that Vanguard was evading the order on Quartz Surface Products from

China. (BPID 25 and PR 48 and 61)




1
    “PR” is a reference to the Public Record, “BPID” is a reference to the Confidential Record.
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      B.       Issues of Law

      The Plaintiffs present the following issues of law. In each instance, CBP’s

decision was not based on substantial evidence on the record, and was arbitrary and

capricious, an abuse of discretion, and not otherwise in accordance with law. The

issues are:

      1. Issue. Whether the EAPA permits an investigation and finding where the

sole dispute was whether the merchandise was “in scope” or “outside of scope”. The

purpose of the EAPA is to prevent false statements which result in the evasion of

duties. The purpose of the EAPA is not to force importers to enter goods as subject

to antidumping duty orders where, as here, the scope was not clear at the time of

entry. Vanguard submits that the EAPA cannot be properly invoked where, as here,

there were no materially incorrect factual statements, beyond a legitimate and good

faith claim that the goods were not subject to the antidumping and countervailing

duty orders.

      2. Issue. Whether CPB erred when it failed to seek advice from the

Department of Commerce as to whether the product falls within the scope of the

antidumping and countervailing duty orders.

      3. Issue. Whether CBP should have taken into account the scope process

initiated by Vanguard. The Department has the legal authority to establish the scope



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   of an order and determine whether a product is, or is not, within the scope of an

   order. CBP cannot ignore the Department.

         4. Issue. The evidence of record establishes that the goods are not within the

   scope of the order.

             C.     Summary Of Arguments

In this submission, plaintiff will present the following arguments:

       The EAPA was intended to address evasion of antidumping and
         countervailing duty orders and was not intended to be used over mere disputes
         as to entry classification.    In this matter, the purported materially false
         statements were not false, but rather reflected alternate views as to the facts.
         This was a vanilla dispute as to classification.
       The regulations clearly state that in the event of a dispute as to scope, CBP
         should seek formal advice from Commerce pursuant to 19 U.S.C.
         1517(b)(4)(A) in order to determine whether these goods fall into the scope
         of the order. CBP did not do so, choosing to go beyond its authority and
         resolve an issue as to disputed scope without seeking the advice from the
         master of the scope. CBP further ignored its regulatory practice by failing to
         take into account the filing of a scope ruling request with Commerce by
         Vanguard;
       CBP placed certain lab test on the record as confidential documents in which
         the public versions indicated that such tests were relevant. In fact, the lab tests
         placed on the record by CPB are wholly unrelated to this proceeding and are
         thus irrelevant to this proceeding and should not be considered in any fashion
         in this matter; and

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    The only usable lab test of record is the lab test placed on the record by
      Vanguard. Such lab test detailed the materials that made up the goods the
      subject of this matter. Such laboratory test establishes that the product the
      subject of this EAPA proceeding is not “of Silica” and thus not subject to the
      orders; and
    Had CBP sought the advice from Commerce, based on the facts presented,
      Commerce would have concluded that mineral slabs were outside the scope
      of the antidumping duty order on Quartz from the People’s Republic of China.



         D.     Statement Of Facts

      The EAPA action was initiated on August 11, 2022 based on a request filed

by Cambria Company LLC. (BPID 9)           Vanguard submitted responses to CBP.

(BPID 6, 7, 15, 19, and 23. )

      During the course of the investigation, Vanguard made multiple requests that

CBP, pursuant to 19 U.S.C. 1517(b)(4)(A), seek advice from the Department of

Commerce advice as to whether the goods fell within the scope of the antidumping

duty order. CBP refused to do so. Vanguard filed a scope ruling request with the

Department seeking confirmation that slabs made from minerals, not quartz were

not subject to the antidumping and countervailing duty orders as falling outside of

the scope of the order. CBP refused to permit any details about the scope ruling to

be placed on the record, rejected the filing providing such information, and beyond



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permitting a bare allegation that a scope ruling request had been filed, did not place

further information on the record. (PD-46)

        The entries in question all claimed country of origin of China, an issue not

challenged by CBP during the EAPA process. All of the Commercial Documents

submitted to Customs clearly stated that the products in question were mineral based

slabs. (BPID 6 and 7). Based on the fact that these slabs were not made from quartz,

and that the independent lab tests obtained by Vanguard confirmed that silica was

not the predominate material, Vanguard properly entered the goods as type 1 entries

not subject to the antidumping and countervailing duty order. (Id.) CBP has no tests

of record showing that these products fall within the scope of the order. Vanguard

obtained additional lab tests, but CBP refused to consider them, and otherwise

rejected critical information including the details as to scope rulings filed with the

Department of Commerce.

III.    STANDARD OF REVIEW

        An agency acts in an arbitrary and capricious manner when it fails to

“articulate a satisfactory explanation” for a conclusion reached; courts frequently

explain the applicable standard as an agency’s failure to annunciate a “rational

connection between the facts found and the choice made.” Burlington Truck Lines,

Inc. v. United States, 371 U.S. 156, 168 (1962). In reviewing an arbitrary and

capricious challenge to agency action, the reviewing court will “consider whether

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the {agency’s} decision was based on a consideration of the relevant factors and

whether there has been a clear error of judgment.” Bowman Transp., Inc. v.

Arkansas–Best Freight System, Inc., 419 U.S. 281, 285 (1974); Citizens to Preserve

Overton Park v. Volpe, 401 U.S. 402, 416 (1971). In Motor Vehicle Mfrs. Ass’n. v.

State Farms Ins., 463 U.S. 29, 43 (1983), the Supreme Court explains that an

agency’s reliance on an explanation “that runs counter to the evidence before the

agency, or is so implausible that it could not be ascribed to a difference in view or

the product of agency expertise{,}” is arbitrary and capricious.

      The Federal Circuit explains that an agency abuses its discretion when its

decision is “based on an erroneous interpretation of the law, . . . or represents an

unreasonable judgment in weighing relevant factors.” Star Fruits S.N.C. v. United

States, 393 F.3d 1277, 1281 (Fed. Cir. 2005) (citation omitted). This Court, in

assessing the reasonableness of an agency’s decision to reject allegedly pertinent

information, finds the following factors relevant to its analysis—burden of

incorporating the information; probability of such information increasing the

accuracy of calculated dumping margins, if incorporated; and the agency’s interest

in ensuring finality. See Grobest & I-Mei Industrial (Vietnam) Co. v. United States,

36 CIT __, __, 815 F. Supp. 2d 1342, 1365–67 (2012) (holding that an agency abused

its discretion by rejecting untimely, but not burdensome to incorporate, information

that, if considered, likely would have resulted in the agency reaching a different

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conclusion); see also NTN Bearing Corp. v. United States, 74 F.3d 1204, 1207–08

(Fed. Cir. 1995) (holding that it was an abuse of discretion for an agency to reject

corrective information that would have prevented imposition of millions of dollars’

worth of unjustified duties).


IV.     ARGUMENT:

        A.    The EAPA Statute Was Intended to Address Evasion, Not to Address
              Legitimate Entries with Factual Disputes

        The primary purpose of the Enforce and Protect Act was to prevent the

evasion of Antidumping and Countervailing Duties and not to punish importers with

legitimate disputes as to the classification of goods at the time of entry. Under the

Customs laws, importers are not required to reach a standard of perfection, only a

standard of reasonable care in their decisions about making entry. United States v.

Optrex America, Inc. 560 F.Supp.2d 1326, 1335 (Ct. Int’l Trade 2008). The EAPA

statute, as enforced by CBP appears to ignore this underlying principle of Customs

Law. The purpose of the Act was also to punish false statements. This is reflected

by the fact that the EAPA statute expressly does not punish “clerical errors”. In this

case, we do not have material false statements. As noted in the section on relevant

facts, the Country of Origin was properly declared as China. (BPID 6 at 5, 8) The

goods were fully and properly described on the entry paperwork and related

documents as “artificial marble”.    This, again, was fully and completely accurate.

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Other entries were described as Veined Acrylic Sheet, properly reflecting the

significant amount of acrylic in the final material. (BPID 7 at 6) That the goods

were not described as petitioner desired – quartz slab – does not make these other

descriptions “materially false”. There is no formal “name” for this product and all

of the names used accurately reflect alternate names for the products.               The

manufacturing process was also accurately provided describing the 4th Generation

FriTech process and the other materials. This process uses no natural quartz. The

resultant product is made with both FriTech material and other minerals. (BPID 6 at

25)

        B.      CBP Should Have Sought Advice from Commerce

        The statute expressly requires CBP to seek advice from Commerce with

respect to whether goods fall within the scope of the order. The statute states:

        (A)In general
          If the Commissioner receives an allegation under paragraph (2) and
          is unable to determine whether the merchandise at issue is covered
          merchandise, the Commissioner shall—

             (i)refer the matter to the administering authority to determine
             whether the merchandise is covered merchandise pursuant to the
             authority of the administering authority under subtitle IV; and

          (ii)notify the party that filed the allegation, and any other interested
          party participating in the investigation, of the referral.
        19 U.S.C. 1517(b)(4)(A)

         This language is clear and unequivocal. There is no requirement that the

respondent request that CBP seek this advice. Rather, as clearly stated, CBP is
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required to seek this advice where, as here, there is a legitimate dispute as to scope.

Critically, the statute uses the directive “shall” rather than “may”. This recognizes

the long-standing principle that the master of the scope of an antidumping duty order

is Commerce, not CBP, and that CBP must ultimately defer to Commerce in

determining whether the goods are in or out of scope. This is particularly important

where, as here, the scope expressly considers Silica, but does not include other

silicates and where CBP has no lab tests of record supporting its conclusion that the

article is chief weight silica. CBP’s methodology in making its determination was

overly simple, and critically, did not take into account whether CBP’s definitions

agreed with Commerce’s definitions.

      In this case, Vanguard expressly requested that CBP seek this advice from the

Department on more than one occasion. See PD 32 at 2, BPID 19 at 3, BPID 23 at

2 – 6. In such request, Vanguard emphasized the non-traditional nature of the slab

and the lab tests of record which showed that the product was not chief weight silica.

Vanguard stated:

    Rather, such products are a different surface product made from silicates and
      frits. Accordingly, CBP should seek clarification from DOC as to whether the
      products in question fall within the scope of the antidumping duty order on
      quartz slab from the People’s Republic of China. . . . Furthermore, the
      merchandise at issue is outside of the scope of the order and CBP should
      seek confirmation of this fact from the DOC. (Response to
      Supplemental Request for Information, PD 32 at 2 and 4)
    The regulations at 19 CFR 165.16 expressly provides that CBP may
     suspend an EAPA action and obtain clarification from the Department
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       as to whether the goods are within the scope of the order. It is also quite
       clear that if these goods are not within the scope of the order, the EAPA
       investigation necessarily must fail…. The product imported by Vanguard
       is not chief weight silica, but rather is composed of other substances
       including certain silicates and therefore must be outside the scope….
       As shown in the attached test report from the [
                                        ], the quartz component (silica) was 33.9
       and when adjusted for Loss on Ignition was 29.7%. In contrast, the
       [                ] component was [           ] and when adjusted for Loss
       on Ignition was [            ]. (Request for Action of February 27,
       2023)(BPID 19 at 3-4.)
      In this matter, CBP is under an obligation to suspend this ongoing
       EAPA investigation until after the conclusion of the now requested
       scope inquiry, and if CBP deems appropriate, to “refer” this matter to
       the Department as clearly required in the regulations…. In its
       submission to CBP, VTC provided a test report from the [National
       Brick Research Center at Clemson University], for the slab at issue. It
       shows that the quartz component (silica) was 33.9 and when adjusted
       for Loss on Ignition was 29.7%. In contrast, the [

              ]. (Written Argument of VTC, BPID 23 at 3, 6)

       In this case CBP also ignored even the existence of the scope ruling request

by Vanguard.       This decision to ignore such request is contrary to the regulatory

statements of CBP. In the Federal Register notice implementing the regulations,

CBP stated:

       Comment: One commenter argued that CBP should provide for a mechanism for
       an interested party to seek relief when CBP improperly refuses to refer a scope issue
       to Commerce and for situations where CBP improperly suspends liquidation of
       entries when the scope issue is being disputed.

       Response: CBP disagrees with the commenter's argument. CBP works with the
       appropriate internal subject matter experts during an EAPA investigation and, in
       addition, works with the Customs Liaison Unit at Commerce, and refers cases to
       Commerce regarding the scope of an AD/CVD order when appropriate. …. Apart
       from CBP's authority to refer issues to Commerce for a covered merchandise
       determination, an interested party also has the ability to seek resolution of a
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       scope issue before Commerce pursuant to Commerce's regulations found at 19
       CFR 351.225 and 19 CFR 351.227. CBP does not believe that an additional
       mechanism is needed in this rulemaking.
89 Fed Reg 19239 (April 17, 2024) at 19246 - 19247


      As an initial matter, there is no evidence of any kind that CBP had discussions

with the Customs Liaison Unit at Commerce. Furthermore, CBP expressly stated

in its discussion of comments on the new regulation that since an interested party

could seek a scope ruling, other procedures were not needed. However, in this case,

in addition to apparently not discussing this matter with the Customs Liaison Unit,

CBP also refused to take into account the filing of such scope ruling by an interested

party. These acts are directly contrary to CBP’s stated regulatory position. Vanguard

did everything expected of it to have the scope reviewed in the EAPA proceeding

by the appropriate agency, but did not receive such review.

      Finally, as discussed in Section D below, Vanguard believes that Commerce

would have found that the type of material the subject of this EAPA investigation

would not necessarily fall within the scope of the order, and that it would come down

to an entry-by-entry evaluation of each slab.         Simply put, Commerce would

recognize the existence of mineral slab as being outside the scope of the order. The

ultimate evaluation of each slab can only be undertaken once the scope is clarified.

      From the regulations, it is clear that CBP cannot make a decision to scope on

its own initiative where there is a legitimate dispute as to scope, and to the extent


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that the scope applies to the transactions. CBP should have sought advice from

Commerce as to whether the goods were subject to the scope of the order, and

whether or not it did so, CBP was obligated to take notice of the scope ruling process

at Commerce. It did not do so. CBP’s actions went beyond the regulations.

      C.     The Lab Tests Placed on the Record do not Support a Finding of
             Evasion

      The only actual evidence as to the make-up of the slabs appears to be the two

lab tests placed on the record by CBP and the lab test supplied by Vanguard.

However, only one of those tests is in fact valid – that of the lab test supplied by

Vanguard. Specifically, CBP placed on the record two lab tests described as “CBP

laboratory reports analyzing the material composition for the products described as

artificial quartz stone and artificial marble”. (BPID 21) These test reports are

inapplicable and also directly contradictory to the statements made in the “Notice of

Determination as to Evasion” (BPID 25).

             1.    The Lab Tests Supplied by CBP Are Incomplete and the Other
                   Lab Test Controls

      The confidential version of the lab tests supplied by CBP were not released

until this matter was received at the CIT. (BPID 21 and PD 40) As this matter was

processed by CBP prior to the effective date of Royal Brush Manufacturing, Inc. v.

United States, 75 F.4th 1250 (Fed. Cir. 2023), such confidential data was never

released to the parties during the administrative action and the flaws were not

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revealed by the public version of the lab tests.     Quite to the contrary, the public

versions appeared to be applicable and germane to the analysis. But they were not.

This court can examine the actual tests.

      The first lab test ([                           ]) , related to an entry made on

[         ] and is the primary lab test which discusses the nature of the sample taken

by CBP. (BPID 21). However, such lab test clearly cannot apply to the subject of

this EAPA matter. The lab test report clearly states that the importer was [

                    ], that the manufacturer was [                  ] and critically that

the origin was [     ]. (BPID 21 at 3) These are wholly inconsistent with the agreed

facts in this matter. This is a lab test for a different importer, different manufacturer

and from a different country of origin. It necessarily has no relevance at all in this

EAPA matter.        CBP has not explained how such a divergent lab test would be

applicable here.

      The second lab test ([                              ]) is equally flawed. In this

case, the lab test report states that the importer is [                        ] and the

manufacturer is [                             .]. (BPID 21 at 6) Even assuming that

[                      ] is a typographically-challenged identification of Vanguard

Trading Company LLC, with ([             ] instead of Vanguard, [           ] instead of

Trading, and [      ] instead of [    ], the lab test is still inapplicable as it is for a

different manufacturer – [                                .].   Further, unlike the first

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flawed lab report, this lab report is devoid of any discussions and analysis, and omits

most of the basic information provided in the first report. This report is simply

deficient and on its face has no ties to the substance of this EAPA matter.

         In sum, these lab reports are so deficient on their face, that they are simply

unusable. In contrast, the only valid test of record is the one provided by Vanguard.2

This test was made of a specific slab from the series of slabs imported by Vanguard

This was a detailed test of multiple samples from a single slab and was undertaken

by [                                                                       ].   The test report

provided a detailed list of all of the materials found in the sample. The report listed

both the percentage of the inorganic material and corrected for loss of ignition (the

destruction of the inorganic materials in the first step of testing). The report found

the following percentages:

    Material                 Percentage (Inorganic)        Percentage (Corrected for LOI

    Quartz                   33.9%                         29.7%

    Muscovite                2.2%                          1.9%

    Ferro-tschermakite       16.9%                         14.8%

    Ferri-winchite           40.2%                         35.3%

    Clinochlore              1.1%                          1.0%

    Anorthite                5.6%                          4.9%


2
 Vanguard notes that it attempted to submit another lab test in the EAPA matter, but CBP rejected
such additional lab test and all evidence of such additional lab test was removed from the record.
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 Total                     99.9%                      87.2%
See Testing Summary (BPID19 at 9)

         Based on the LOI calculation, the resin was approximately 12.5%. This test

clearly shows that the quartz (Silica) is 29.7%. The other two major materials are

Ferri-winchite (35.3%) and Ferro-tschermakite (16.9%) and a minor material is

Anorthite (4.9%). As described in the test report, neither Ferri-winchite, nor Ferro-

tschermakite nor Anorthite are Silica. The chemical formula for Ferri-winchite is

NaCaMg4FE(Si8O22)(OHF)2. (BPID 19 at 11). The chemical formula for Ferro-

tschermakite is K0.16Na0.24Ca1.86Mg1.22Ti0.1, Fe2.42, Al3.3Si8O22(OH)2 (BPID 19 at 11).

The chemical formula for Anorthite is Na0.482Ca0.518Al1.518Si2.182O8. None of these

materials contain Silica, and combined they add up to over 57% of the weight of the

materials. Even if all of the remaining materials were “pure Silica”, which they are

not, the total Silica content could not exceed 32.6%, which amount is less than the

35.3% provided by the Ferri-winchite.         These goods are “of” Ferri-winchite and

thus this is clear evidence that the slab in question is not of “chief weight” Silica and

thus falls outside of the scope of the order. CBP did not give this proper weight.

         In response to this compelling lab test, CBP falls back on the patent and the

initial description of the goods in the patent.     However, the patent is, in fact, a

theoretical discussion of the material and between the issuance of the patent, which

does not have fixed material specifications, and the production of the goods, the

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formulation could have changed to ensure that the goods were outside of the scope

of the order. The patent should be given no weight when compared to the extant lab

test. The patent is a theoretical value and the lab test provided by Vanguard is an

actual value.

       2.       The Lab Reports Contradict the Notice of Determination as to
                Evasion

       In its determination as to evasion CBP stated that “CBP was unable to take a

sample of the Importer’s products because no entries were imported into the United

States after the investigation was initiated.” (BPID 4) And yet, CBP claims to have

taken and tested samples, as indicated in the flawed lab reports, from entries which

were made after the date of initiation. (The investigation was initiated on August

11, 2022, but was not announced until November 17, 2022). So it appears that either

CBP knowingly placed on the record irrelevant lab tests bracketed in such a fashion

as to hide the truth or the CBP had, in fact, samples of the importers products, and

could have conducted more lab tests to determine the accuracy and applicability of

the test placed on the record by Vanguard. Rather than doing so, and taking

advantage of the “confidential” nature of the EAPA proceedings, CBP placed on the

record inaccurate information which could not be corrected as the flaws were

“hidden” until litigation. Critically, such lab tests also establish that either the notice

of initiation was flaw and/or the lab tests did not stand for the proposition for which

they were presented.
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         D.    Commerce Would Have Found That the Product Was Out of Scope

         Had CBP followed its legal obligations and requested advice from the

Commerce in a timely fashion, Commerce would have found that the products at

issue are out of scope. In considering scope, Commerce would have considered

whether a molecule which contains a Silica component retains its “silica” status, or

whether this molecule, where the Silica is bonded, at the atomic level, loses its Silica

nature. This is similar to the fact that the water molecule is made of two hydrogen

atoms bonded to an oxygen atom at an atomic level. Water and Oxygen are very

different materials. Water can be used to suppress a fire, while pure oxygen will

cause the fire to grown in size and magnitude. In this case, while the compounds that

went into the slab may have contained Silica molecules permanently bound to other

molecules, such molecules were no more “Silica” than water is Oxygen.

         As discussed in Section C above, the lab test supplied by Vanguard by

[                                                         ] (BPID 19 at 7) provided a

detailed list of all of the materials found in the sample. The report listed both the

percentage of the inorganic material and corrected for loss of ignition (the

destruction of the inorganic materials in the first step of testing). The report found

the following percentages:

    Material              Percentage (Inorganic)     Percentage (Corrected for LOI

    Quartz                33.9%                      29.7%

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 Material                 Percentage (Inorganic)    Percentage (Corrected for LOI

 Muscovite                2.2%                      1.9%

 Ferro-tschermakite       16.9%                     14.8%

 Ferri-winchite           40.2%                     35.3%

 Clinochlore              1.1%                      1.0%

 Anorthite                5.6%                      4.9%

 Total                    99.9%                     87.2%
See Testing Summary (BPID19 at 9)

         Based on the LOI calculation, the resin was approximately 12.5%.         This

clearly shows that the quartz (Silica) is 29.7%. The other two major materials are

Ferri-winchite (35.3%) and Ferro-tschermakite (16.9%) and a minor material is

Anorthite (4.9%). As described in the test report, neither Ferri-winchite, nor Ferro-

tschermakite nor Anorthite are Silica. The chemical formula for Ferri-winchite is

NaCaMg4FE(Si8O22)(OHF)2. (BPID 19 at 11). The chemical formula for Ferro-

tschermakite is K0.16Na0.24Ca1.86Mg1.22Ti0.1, Fe2.42, Al3.3Si8O22(OH)2 (BPID 19 at 11).

The chemical formula for Anorthite is Na0.482Ca0.518Al1.518Si2.182O8. None of these

materials contain Silica, and combined they add up to over 57% of the weight of the

materials. Even if all of the remaining materials were “pure Silica”, which they are

not, the total Silica content could not exceed 32.6%, which amount is less than the

35.3% provided by the Ferri-winchite. These goods are “of” Ferri-winchite.

         In contrast, the only “support” which has not been totally discredited as
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completely irrelevant, (see Section B(1) above), is the patent, which is a description

of the product, but does not include the make-up of the actual importations and the

adjustments which were made in the formulation of the product from the theoretical

patent to the practical goods imported.

       These were all significant issues which went beyond CBP’s simplistic

interpretation and required Commerce’s input to consider these complex issues.

CBP failed to request guidance from Commerce, ignored direct evidence of a lab

test for the series of goods subject to this EAPA action, and used the general formula

from a patent without taking into account that such formulations can be adjusted.

Had this been submitted to Commerce, and had Commerce, based on a full and

complete record, would necessarily have concluded, at a minimum, that there exists

a category of products of slabs made of non-quartz minerals which would be outside

the scope of the order on quartz.

V.     CONCLUSION

       Based on the foregoing, plaintiff respectfully requests that this Court grant

their motion for Judgment on the Agency Record and remand this case to

Commerce with instructions consistent with the points set forth in this

memorandum. Specifically, the Court should find:

       Based on the foregoing, plaintiff respectfully requests that this Court grant

the motion for Judgment on the Agency Record and remand this case to CBP with

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instructions consistent with the points set forth in this memorandum. Specifically,

the Court should find:

      The EAPA was intended to address evasion of antidumping and
       countervailing duty orders and was not intended to be used over
       mere disputes as to entry classification;
      CBP should have sought advice from Commerce pursuant to 19
       U.S.C. 1517(b)(4)(A) as to whether these goods fall into the scope
       of the order, and having failed to do so, should have taken into
       account the filing of a scope ruling request with Commerce by
       Vanguard;
      The lab tests placed on record by CPB are irrelevant to this
       proceeding and should not be considered in any fashion in this
       matter;
      The lab test placed on the record by Vanguard is the only
       applicable test of record. Such laboratory test establishes that the
       product the subject of this EAPA proceeding is not “of Silica” and
       thus not subject to the orders; and
      Had Commerce been requested to examine scope, Commerce would
       have properly concluded that the goods the subject of this action
       were outside of the scope of the order.

                                Respectfully submitted,

                                      /s/ David Craven
                                      David Craven

                                      David J. Craven
                                      Craven Trade Law LLC
                                      3744 N Ashland Avenue
                                      Chicago, IL 60613
                                      (773)709-8506
                                      David.craven@tradelaw.com

                                      Counsel to Vanguard Trading Company LLC

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